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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 20-1498

                                         Armon Nahal

                                                    Appellant

                                               v.

                                  Allina Health System, et al.

                                                    Appellees

______________________________________________________________________________

              Appeal from U.S. District Court for the District of Minnesota
                                (0:18-cv-00631-DWF)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 04/01/2021, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     May 20, 2021




Clerk, U.S. Court of Appeals, Eighth Circuit
